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 United States Bankruptcy       Court for the:

 SOUTHERN DISTRICT             OF TEXAS


 Case number (ifknown)                                                                         Chapter     11

                                                                                                                                                 O   Check if this an
                                                                                                                                                     amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                               4/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.         Debtor's name                 Beltway     7   Properties, Ltd.

2.         All other names debtor
           used in the last 8 years
           Include any assumed
           names, trade names and
           doing business as names


3.         Debtor's federal
           Employer Identification       XX-XXXXXXX
           Number (EIN)


4.         Debtor's address              Principal place       of   business                                       Mailing address,      if   different from principal place          of
                                                                                                                   business

                                         7904 North Sam Houston                      Pkwy West
                                         Houston, TX 77064
                                         Number, Street, City, State       &    ZIP Code                           P.O.   Box, Number, Street, City,           State   &   ZIP Code


                                         Harris                                                                    Location    of   principal assets,     if    different    from principal
                                        County                                                                     place of business

                                                                                                                   Number, Street, City, State       &   ZIP Code



5.         Debtor's website   (URL)



6.         Type of debtor               O    Corporation   (including Limited Liability Company (LLC) and Limited Liability Partnership              (LLP))

                                         E   Partnership   (excluding LLP)

                                        O    Other. Specify:




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 Debtor              Beltway      7   Properties,       Ltd                                                                                                                     Case nurnber     (if   known)
                     Name




 7.        Describe debtor's business                   A.    Check one:
                                                        O      Health Care Business (as defined                                     in    11       U.S.C.       §
                                                                                                                                                                    101(27A))

                                                        O      Single Asset Real Estate (as defined                                       in       11    U.S.C.       §
                                                                                                                                                                          101(51B))

                                                        O      Railroad (as defined            in   11        U.S.C.            §
                                                                                                                                         101(44))

                                                        O      Stockbroker       (as defined             in   11        U.S.C.            §
                                                                                                                                               101(53A))
                                                        O      commodity Broker            (as defined                   in     11        U.S.C.          §
                                                                                                                                                               101(6))

                                                        O      Clearing Bank (as defined                      in    11        U.S.C.           §        781(3))

                                                        E None        of the above


                                                        B.    Check all that apply
                                                        O Tax-exempt entity            (as described                      in        26 U.S.C.                 §501)

                                                        O      Investment company, including hedge fund                                                   or   pooled investment vehicle (as defined                     in   15 U.S.C.      §80a-3)

                                                        O     Investment        advisor (as defined                      in         15 U.S.C.              §80b-2(a)(11))


                                                        C.    NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                              See http://www.uscourts.gov/four-digit-national-association-naics-codes.




8.     Under which chapter of the                       Check one:
       Bankruptcy Code is the
                                                        O     Chapter     7
       debtor filing?
                                                        O     Chapter     9




                                                        E Chapter         11. Check all that apply:

                                                                                       O        Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                                                are less than $2,566,050(amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                                       O        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                                       O       A    plan           is    being filed with this petition.

                                                                                       O       Acceptances of the plan were solicited prepetition from one                                                          or   more classes of creditors,         in

                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                                       O       The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                                           .
                                                                                               Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                                               attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                                               (Official Form 201A) with this form.

                                                                                       O       The debtor                      is    a    shell company                   as   defined   in   the Securities       Exchange Act        of   1934 Rule 12b-2.

                                                        O     Chapter 12




9.     Were prior bankruptcy                            -    No.
       cases filed by or against
       the debtor within the last               8       O Yes.
       years?
       If more than 2 cases, attach                 a


       separate list.                                                District                                                                              When                                                 Case number

                                                                     District                                                                              When                                             Case number


10.    Are any bankruptcy cases                         O No
       pending or being filed by                a


       business partner or an                           A Yes.
       affiliate of the debtor?
       List    all    cases.    If more than   1,

       attach         a   separate list                              Debtor        L   REIT, Ltd.                                                                                                          Relationship                         Affiliate
                                                                                   Southern District                                     of
                                                                                   Texas, Houston
                                                                     District      Division                                                                When            12/05/18                        Case number,         if   known




Official      Form        201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                        page      2
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 Debtor         Beltway   7   Properties, Ltd.                                                                                                                                                  case number (itknown)
                Name




 11.       Why is the case filed       in       Check all that apply:
           this district?
                                                                  Debtor has had its domicile, principal place of business, or principal assets                                                                               in       this district for 180 days                               immediately
                                                                  preceding the date of this petition or for a longer part of such 180 days than                                                                                  in    any other district

                                                O                 A       bankruptcy                                  case        concerning      debtor's affiliate,      general partner, or partnership                               is        pending    in   this district.


 12.       Does the debtor own or               li   No
           have possession of any
           real property or personal                                       Answer below for each property that needs immediate attention. Attach additional sheets                                                                                                 if   needed.
                                                O Yes.
           property that needs
           immediate attention?                                            Why                            does the property need immediate attention? (Check all that apply.)

                                                                            O                       It    poses        or    is    alleged   to   pose       a   threat of imminent and identifiable                    hazard                to    public health        or       safety.

                                                                                                What             is   the hazard?

                                                                            O                       It    needs to be physically secured or protected from the weather.

                                                                           O                          It includes perishable goods or assets that could quickly deteriorate                                                  or        lose value without attention                                (for example,
                                                                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related                                                    assets                or   other options).

                                                                           O Other
                                                                           Where                            is        the property?

                                                                                                                                                             Number, Street, City, State                   &   ZIP Code

                                                                           is               the property                          insured?
                                                                           O No

                                                                           O Yes.                                     Insurance agency

                                                                                                                      Contact name
                                                                                                                      Phone



               Statistical and administrative information

13.        Debtor's estimation    of        .                         Check one:
           available funds
                                                                      i     Funds will be available for distribution                                                 to unsecured              creditors.

                                                                      O After any administrative                                             expenses are paid,            no   funds               will be available   to         unsecured creditors.


14.    Estimated number          of         g        1-49                                                                                                         O 1,000-5,000                                                               O 25,001-50,000
       creditors
                                            O 50-99                                 .                                                                    ,
                                                                                                                                                                  O 5001-10,000                                .
                                                                                                                                                                                                                                              O 50,001-100,000
                                            O 100-199                                                                                                             O 10,001-25,000                                                             O More than100,000
                                            O 200-999


15.    Estimated Assets                     O $0              -
                                                                  $50,000                                                                                        M $1,000,001          -
                                                                                                                                                                                               $10 million                                    O $500,000,001                  -
                                                                                                                                                                                                                                                                                  $1            billion
                                            O $50,001                           -
                                                                                                    $100,000                                                     0   $10,000,001           -
                                                                                                                                                                                                    $50   million                             O $1,000,000,001                     -
                                                                                                                                                                                                                                                                                               $10 billion
                                            O $100,001                                          -
                                                                                                     $500,000                                                    O 650,000,001             -
                                                                                                                                                                                                    $100 million                              O $10,000,000,001                            -
                                                                                                                                                                                                                                                                                                $50 billion
                                            O $500,001                                      -
                                                                                                     $1    million                                               O $100,000,001                 -
                                                                                                                                                                                                     $500 million                             O More than $50 billion


16.    Estimated liabilities                O $0          -
                                                                  $50,000                                                                                        E $1,000,001      -
                                                                                                                                                                                               $10 million                                    O $500,000,001                  -
                                                                                                                                                                                                                                                                                  $1            billion
                                            O        $50,001                            -
                                                                                                    $100,000                                                     O ;10,000,001             -
                                                                                                                                                                                                    $50   million                             O $1,000,000,001                     -
                                                                                                                                                                                                                                                                                           $10 billion
                                            O 6100,001                                      -
                                                                                                     $500,000                                                    O $50,000,001             -
                                                                                                                                                                                                    $100 million                              O $10,000,000,001                        -
                                                                                                                                                                                                                                                                                                $50 billion
                                            O $500,001                                      -
                                                                                                     $1    million                                               O $100,000,001                 -
                                                                                                                                                                                                     $500 million                             O More than $50 billion




Official     Form   201                                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                                                                    page   3
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 Debtor        Beltway        7   Properties, Ltd.                                                                                                            case number      (if   known)
               Name




               Request for Relief, Declaration, and Signatures

 WARNING           - Bankruptcy       fraud   is   a            serious crime. Making               a    false    statement       in    connection with a bankruptcy case can result                     in   fines        up     to    $500,000   or
                      imprisonment for        up           to    20 years,        or   both.    18 U.S.C.         §§ 152,       1341,     1519, and 3571.

 17.   Declaration and signature
       of authorized                                   The debtor requests relief                        in   accordance with the chapter of title 11, United States Code, specified                                       in     this petition.
       representative of debtor
                                                       I        have   been authorized              to   file this petition on behalf of the debtor.


                                                       I        have   examined the information                       in   this petition and have      a   reasonable    belief that the information                  is        trued    and correct.

                                                       I    declare under penalty of perjury that the foregoing                                is   true and correct.

                                                   Executed                  on

                                                                                        MIGIYDD                  YL




                                              X                                                                                                                     Mohammad                   Nasr
                                                   Sigridffire of authorized                        representative            of debtor                             Printed name

                                                                        President              of   Beltway           7    Management,
                                                   Title                LLC, General                 Partner




18.    Signature      of   attorney           X                                                                                                                         Date
                                                   Signat               re   of attorney for debtor                                                                                  MM   /   DD   /   YYYY
                                                                                                                                                                                                                            '




                                                   Meltersa                  A.   Haselden
                                                   Printed name

                                                   Hoover Slovacek LLP
                                                   Firm            name

                                                   5051                Westheimer
                                                   Suite 1200
                                                   Houston, TX 77056
                                                   Number, Street, City, State                            &   ZIP Code



                                                   Contact phone                         113.977.8686                                    Ernail address


                                                   00794778 TX
                                                   Bar number and State




Official    Form   201                                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                   page   4
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                                      WRITTEN CONSENT OF THE PARTNERS
                                        OF BELTWAY 7 PROPERTIES, LTD.

        The undersigned, being all partners of BELTWAY 7 PROPERTIES, LTD., a Texas
 limited partnership (the "Partnership"), and pursuant to the provisions of the Texas statutes,
 hereby consents to and adopts the following recitals and resolutions, by written consent as of
 November _, 2018:

           RESOLVED, that the Partnership should reorganize by filing for bankruptcy
           protection under Chapter 11 of the Bankruptcy Code with an appropriate federal
           bankruptcy court sitting in Harris County, Texas or such other appropriate county
           determined     by the General Partner;


           RESOLVED,       that Mohammad Nasr, the President and Sole Member of Beltway
           7  Management, LLC ("General Partner"), is hereby authorized and directed to
           prepare or cause to be prepared the voluntary petition and to cause the initiation
           and prosecution   of a case under the Bankruptcy Code (the "Bankruptcy Case"),
           and  to prepare or cause to be prepared all other documents, pleadings                 and other
           others instruments necessary to prosecute the Bankruptcy Case;


           RESOLVED, that the Partnership is authorized and directed to employ and retain
           the firm of Hoover Slovacek LLP, Attorneys at Law, to represent the Partnership
           in its case under the Bankruptcy Code upon such retainer and compensation
           agreement as may seem in the sole discretion of the General Partner to be
           appropriate;   and


          RESOLVED FURTHER,                     that any and all actions taken by the General Partner,
          for and on behalf and in the name of this Partnership, prior to the adoption of the
          foregoing resolutions, in connection with any of the foregoing matters, be and
          they are hereby, ratified, confirmed and approved in all respects for all purposes.

          The undersigned,            being the General   Partner   of the Partnership   hereby    consents to the
foregoing effective the                  day   of November, 2018.




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                                  )
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                                     GENERAL PARTNER:

                                     BELTW       M




                                           Mohammad                   President and   S         e   Member




                                                     ictor   A.       Duva                ,   Independent
                                                 Director of Beltway           1   Management, LLC




                                                  Jean            A.   Schwartz    Independent
                                                                                      ,




                                                 Direct           f   Beltway 7 Management, LLC


                                     LIMITED PARTNER:
                                     MOE NASR



                                     By:
                                           Mohammad Nasr, Member




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                                 }
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                                                                                                     United States Bankruptcy Court
                                                                                                            Southern District              of Texas
      In       re            Beltway            7    Properties, Ltd.                                                                                                Case No.
                                                                                                                               Debtor(s)                             Chapter                    11




                                                                                               LIST    OF   EQUITY SECURITY HOLDERS
    Following                 is     the list ofthe          Debtor's       equity       security    holders which   is   prepared   in   accordance with rule 1007(a)(3) for filing                    in    this Chapter    11    Case


     Name and last known address or place of                                                             Security Class         Number of Securities                                  Kind of Interest
     business of holder

    Beltway 7 Management, LLC                                                                                                   1%                                                    General Partner
    7904 North Sam Houston Pkwy West
    Houston, TX 77064

    Mohammad Nasr                                                                                                               99%                                                   Limited Partner
    7904 North Sam Houston Pkwy West
    Houston, TX 77064


  DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION                                                                                                                                 OR       PARTNERSHIP

           I, the President of Beltway Management, LLC, General Partner of the partnership named as the debtor in this case,
                                                                                     7


  declare under penalty of perjury that have read the foregoing List of Equity Security Holders and that it is true and
                                                                                           I




  correct to the best of my information and belief.




   Date                  December                    5, 2018                                                          Signature
                                                                                                                                          M5hammad Nasr

                                            Pena/Or for making          a   false statement of concealing properg': Fine of up to $500,000                  imprisonment
                                                                                                                                                       or                  for   up    to   5   years    or   both.
                                                                                                         18 U.S.C. §§ IS2 and 3571.




Sheet      1        of   1   in      List of Equity Security Holders
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                                                                                                                                                                                                                      Best Case    Bankruptcy
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    Debtor name | Beltway 7 Properties, Ltd.
    United States Bankruptcy Court for the: SOUTHERN                                               DISTRICT OF TEXAS                                                                     O    Check        if    this    is    an

    Case number              (if known):                                                                                                                                                      amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the                                                                                             20    Largest UnsecuredClaims and
  Are Not Insiders                                                                                                                                                                                                                       12iis

          creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  A list of
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.
                                                                                                            § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

   Name of creditor and                     Name, telephone number                  Nature of claim                       Indicate if claim    Amount of claim
   complete mailing address                 and email address of                    (for example, trade                    is contingent,      If   the   claim is fully unsecured, fill in only unsecured claim amount. If
   including zip code                       creditor contact                        debts, bank loans,                    unliquidated, or     claim      is partially secured, fill in total claim amount and deduction for
                                                                                    professional services,                    disputed         value      of collateral or setoff to calculate unsecured claim.
                                                                                    and government                                             Total claim, if                Deduction for value           Unsecured claim
                                                                                    contracts)                                                 partially secured              ofcollateral or setoff
   -NONE-




Official form 204                                              Chapter   11   or   Chapter   9   Cases:   List   of   Creditors Who Have the    20    Largest Unsecured      claims                                           page   1




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